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 7                          United States District Court
                           Eastern District of Washington
 8                     Before the Hon. Salvador Mendoza, Jr.

 9   Reginald Blair, et al.,

10                              Plaintiffs; No. 2:19-CV-00083-SMJ

11     v.                           Joint Motions to Dismiss Claims
                                    with Prejudice and without
12   Soap Lake Natural Spa & Resort Costs or Fees to either Party and
     LLC, et al.,                   to Drop Plaintiff Bean as a Party
13                      Defendants.

14                                           June 22, 2022
                                             Without oral argument
15

16          Plaintiff Bean and Defendants, hereafter collectively "the moving

17   Parties," state as follows:

18   A.     Recitals

19          WHEREAS, Plaintiffs filed their most recent complaint on June

20   3, 2019, alleging certain claims against Defendants in this action;
     Order of Dismissal - 1
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 1           WHEREAS, Defendants answered that complaint on February

 2   24, 2019 and asserted particular counter-claims against Plaintiffs in

 3   this action;

 4           WHEREAS, Plaintiff Bean and Defendant Soap Lake Natural

 5   Spa & Resort LLC and Defendant Xiao have resolved their differences

 6   and seek dismissal of Plaintiff Bean’s claims against Defendants and

 7   dismissal of Defendants counter-claims against Plaintiff Bean;

 8           WHEREAS, Plaintiff Blair, Plaintiff Sharp and Defendants have

 9   not resolved their differences and intend to proceed to trial on their

10   remaining claims.

11   NOW, THEREFORE,

12           1.   Plaintiff Bean moves this Court under Fed. R. Civ. P.

13   41(a)(1)(A)(ii)1 to dismiss all of her remaining claims against

14   Defendant Soap Lake Natural Spa & Resort LLC and Defendant Xiao

15   with prejudice and with each party to bear their own costs and fees.

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     1 Although Rule 41 only refers to dismissing an “action,” the Ninth Circuit has
19   made it clear that Rule 41 may also be used to dismiss some, but not all, claims
     and dismiss some, but not all, parties. See e.g., Wilson v. City of San Jose, 111
     F.3d 688, 692 (1997) (“The plaintiff may dismiss some or all of the defendants,
20   or some or all of his claims, through a Rule 41(a)(1) notice.”)
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 1   Defendant Soap Lake Natural Spa & Resort LLC and Defendant Xiao

 2   waive their right to object to or respond to this motion.

 3        2.   Defendant Soap Lake Natural Spa & Resort LLC and

 4   Defendant Xiao move this Court under Fed. R. Civ. P. 41(a)(1)(A)(ii)

 5   and Fed. R. Civ. P. 41(c) to dismiss all of their remaining counter-

 6   claims against Plaintiff Bean with prejudice and with each party to

 7   bear their own costs and fees. Plaintiff Bean waives her right to

 8   object to or respond to this motion.

 9        3.   Plaintiff Bean and Defendants jointly move this Court to

10   drop Plaintiff Bean as a party to this action under Fed. R. Civ. P. 21

11   because there are no remaining claims for Plaintiff Bean to

12   prosecute or defend.

13

14   IT IS SO STIPULATED AND MOVED this 23rd day of May 2022.

15   s/James E. Baker                       s/Adam R. Pechtel
     James E. Baker                         Adam R. Pechtel
16   WSBA #9459                             WSBA #43743
     Attorney for Defendants                Attorney for Plaintiff
17   Moberg Rathbone Kearns,                  Bean
       P.S.                                 Pechtel Law PLLC
18
     //
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     //
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     Order of Dismissal - 3
     Case 2:19-cv-00083-SMJ     ECF No. 118   filed 05/23/22   PageID.1601 Page 4 of 6




 1   B.        Order

 2             IT IS ORDERED:

 3        1. Plaintiff Bean and Defendants’ Joint Motions to Dismiss Claims

 4             with Prejudice and without Costs or Fees to either Party and to

 5             Drop Plaintiff Bean as a Party, ECF No. ___, is GRANTED.

 6        2. All Plaintiff Bean’s remaining claims against Defendants are

 7             DISMISSED WITH PREJUDICE, with all parties to bear their

 8             own costs and attorney fees.

 9        3. All Defendant Soap Lake Natural Spa & Resort LLC and

10             Defendant Xiao’s remaining counter-claims against Plaintiff

11             Bean are DISMISSED WITH PREJUDICE, with all parties to

12             bear their own costs and attorney fees.

13        4.        Plaintiff Bean is DROPPED as a party to this action.

14        5.        All hearings and other deadlines are STRICKEN only

15                  insofar as they pertain to Plaintiff Bean.

16        6.        The Clerk’s Office is directed to DROP Plaintiff Bean as a

17                  party to this action.

18   IT IS SO ORDERED.

19   The Clerk's Office is directed to enter this Order and provide copies

20   to all counsel.
     Order of Dismissal - 4
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 1          DATED this _______ day of __________________ 2022.

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 3               ___________________________________________
                         Hon. Salvador Mendoza, Jr.
 4                       United States District Judge

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     Order of Dismissal - 5
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                             SERVICE CERTIFICATE

    I hereby certify that May 23, 2022, I electronically filed the foregoing

    with the Clerk of the Court using the CM/ECF System, which in turn

    automatically generated a Notice of Electronic Filing (NEF) to all

    parties in the case who are registered users of the CM/ECF system.

    The NEF for the foregoing specifically identifies recipients of

    electronic notice. I hereby certify that I have mailed by United States

    Postal   Service   the    document      to   the    following    non-CM/ECF

    participants: N/A.



0
                                            s/Adam R. Pechtel
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    Order of Dismissal - 1
